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JOE NEA'-1 5555<_.55 50555
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Piaintiff,
vs. NO. 02-CV-2943V

ACCEPTANCE INSURANCE COMPANY,

‘-\llv'"-"-f'll-F"l.'\_"_"_f\_€

Defendant.

 

ORDER OF D|SN||SSAL W|TH PREJUD|CE

 

This date came the parties in the above captioned cause and stated unto the Court
that all issues had been resolved by Way of compromise, and theyjoint|y requested thatthe
Court enter a judgment of dismissal With prejudice with no court costs to be assessed and
no discretionary fees to be applied for or assessed

lT |S THEREFORE, ORDERED, ADJUDGED AND DECREED that the Within action
brought by Joe Nea| be and the same is hereby dismissed with prejudice with no court

costs to be assessed and no discretionary fees to be applied for or assessed .

\,li/i
This the §§ day of QL,?¢;C ,2005.

ENTER:

5@\,¢ ML,@ /[. Q/W(/Y

Judge Diane K. Vescovo

 

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APPROVED FOR ENTRY:

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Attorney for F’|aintiff
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Russe|| E Reviere (BPR #07166)

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Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:02-CV-02943 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

Gerald S. Green

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Honorable Diane Vescovo
US DISTRICT COURT

